UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
Maria Suarez,                                         )
                                                      )        PLAINTIFF’S RESPONSE
                                        Plaintiff(s), )        AND COUNTER-STATEMENT
                                                      )        TO DEFENDANT’S 56.1
                     -against-                        )        STATEMENT
                                                      )
Southern Glazer's Wine and Spirits of New York,       )        Case No.
LLC,                                                  )        19-cv-07271(GRB)(LGD)
                                                      )
                                       Defendant(s). )


                                 PRELIMINARY STATEMENT

        The Local Rules require the moving party to submit “a separate, short and concise

statement, in numbered paragraphs, of the material facts as to which the moving party contends

there is no genuine issue to be tried.” The Defendant’s Rule 56.1 Statement contains numerous

statements of fact which the Defendant knows to be disputed. In addition, many of the statements

are opinion and argument rather than fact.

        The Defendant’s 56.1 Statement Contains 70 numbered paragraphs, many of which

contain multiple statements of fact. In order to respond, the Plaintiff, where appropriate, has

renumbered the statement (e.g. 5, 5.1, 5.2, etc.) so as to ferret out each statement of fact.

                       PLAINTIFF’S RESPONSE TO DEFENDANT’S
                      STATEMENT OF MATERIAL FACTS NOS. 1-49

   1.          Southern Glazer’s Wine and Spirits, LLC is a wholesale distributor of spirits,

beer, wine, and related products.

   Response: UNDISPUTED.

   2.          Southern Glazer’s Wine and Spirits, LLC is headquartered in Miami, Florida, and

maintains two primary distribution warehouses in New York: one in Syosset and another upstate

in Syracuse. See Declaration of Elizabeth Toohig (“Toohig” Decl.), ¶ 2.



                                                  1
    Response: UNDISPUTED.

    3.        On July 1, 2016, Southern Wine & Spirits of America, Inc. and Glazer’s Inc.

completed a transaction to form Southern Glazer’s Wine and Spirits, LLC. See Toohig Decl., ¶ 3.

    Response: UNDISPUTED.

    3.1.      Southern Glazer’s Wine and Spirits, LLC is the parent company of Defendant

Southern Glazer’s Wine and Spirits of New York, LLC (hereinafter “SGWS”). See Toohig

Decl., ¶ 4.

    Response: UNDISPUTED.

    4.        SGWS is an equal opportunity employer and takes discrimination and retaliation,

and allegations thereof, seriously. SGWS maintains policies prohibiting discrimination and

retaliation in employment. See Employee Handbook (attached as Exhibit 1 to the Declaration of

Anjanette Cabrera (“Cabrera Decl.”)).

    Response: DISPUTED IN PART. The Plaintiff DOES NOT DISPUTE that SGWS (also

referred to as “Southern”) has a handbook that prohibits discrimination. The remainder of this

statement constitutes Southern’ s opinion that it does not discriminate, and therefore is a

statement of opinion, not fact, to which no response e is required and which is therefore

DISPUTED.

    4.        Plaintiff Maria Suarez (“Suarez”) began working for SGWS in December 2004 as

an administrative assistant in the payroll department. See Deposition Transcript of Maria Suarez

(“Suarez Dep.”)

    Response. UNDISPUTED.

    5.        In 2007, Suarez was promoted to Inventory Supervisor, later retitled Inventory

Control Manager, in the company’s Syosset warehouse. See Personnel Action Notice dated




                                               2
October 10, 2007 (attached as Exhibit 2 to the Cabrera Decl.); and Suarez Dep. at 21:13-19

(attached as Exhibit 19 to Cabrera Decl.).

   Response: DISPUTED. Plaintiff was promoted to Inventory Control Manager in 2007. See

November 6, 2012 email and Southern Wine & Spirits Position Request form annexed to the

Moser Declaration as Exhibit 1 (SGWS001488-001489).

   6.          [Plaintiff] initially supervised one Inventory Control (“IC”) Clerk, Josianne

Sajous (“Sajous”).

   Response: UNDISPUTED.

   7.1.        In January 2008, two additional IC Clerks joined the department, and Suarez hired

an IC Clerk in February 2009.

   Response: UNDISPUTED.

   7.2.        Suarez supervised between three and four full-time IC Clerks while in the position

of Inventory Supervisor/IC Manager[.]

   Response: UNDISPUTED.

   7.3.        Suarez supervised between three and four full-time IC Clerks. . .as WMI

Administrator (explained further below). See Suarez Dep. at 22:11-17; 26:5-10; 28:7-20

(attached as Exhibit 19 to Cabrera Decl.); Deposition Transcript of Roy Kohn (“Kohn Dep.”) at

30:17-20 (attached as Exhibit 14 to Cabrera Decl.); and Deposition Transcript of Barry

Finkelstein (“Finkelstein Dep.”) at 14:9-23 (attached as Exhibit 18 to Cabrera Decl.).

   Response. DISPUTED. Suarez was stripped of her supervisory authority when she was

reclassified from “Manager” to “Administrator.” See Suarez Dep. 173:11-14; see also

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 17, infra.




                                                3
   8.         Throughout her tenure supervising the IC department, Suarez’s manager, John

Wilkinson (“Wilkinson”), rated Suarez as only an average “Performer” in her performance

reviews. See Performance Evaluations (attached as Exhibit 3 to the Cabrera Decl.).

   Response. Defendant has failed to provide a pinpoint cite to admissible evidence to support

this statement. Therefore, no response is required. To the extent a response is required, the

statement is DISPUTED.

PLAINTIFF’S COUNTER STATEMENT OF MATERIAL FACTS NO. 8.

        SGWS violated its own policies by failing to provide the Plaintiff with performance
        evaluations covering 2014, 2015, 2016 and 2017.

           a. As of May 2, 2013, Maria Suarez supervised four individuals – three women

              (Tatiana Herdocia, Ina Scott and Josianne Sajous) and one man (Justin Vegh).

              Suarez Dep. 26:9-10.

           b. On May 2, 2013, While reviewing payroll records for her department, Ms. Suarez

              noticed that the three women in her department were classified as “admin” (or

              “clerical”) while the only male in her department was classified as “warehouse.”

              See Suarez Decl. ¶ 1.

           c. That same day, Ms. Suarez sent an email to John Wilkinson stating that her “team

              was classified differently” and that while she was sure it was “just a mistake, [] it

              looks like they were classified by sex.” Suarez Dep 157:24-158:12; see also email

              chain annexed to the Moser Declaration as Exhibit 2.




                                                4
            d. The last performance appraisal signed by the Plaintiff was dated May 20, 2014. 1

                This performance evaluation covers the Plaintiff’s performance for the 2013

                calendar year. 2

            e. On May 22, 2014 (two days after Plaintiff received her 2013 performance

                appraisal), Tatiana Herdocia and Ina Scott filed a lawsuit against SGWS in the

                Eastern District of New York. See Herdocia v. Southern Wine & Spirits of

                America, Inc., 14-cv-03196(JMA)(ARL)(“the Herdocia lawsuit”). A copy of the

                Herdocia complaint is annexed to the Moser Declaration as Exhibit 3.

            f. The Herdocia lawsuit alleged that Southern had violated the U.S. Equal Pay Act

                (29 U.S.C. § 206(d)), and the New York Equal Pay Act (N.Y. Lab. Law § 194),

                by classifying them based upon sex. See Herdocia complaint (Ex. 3 to Moser

                Decl.).

            g. Plaintiff was not issued an annual performance evaluation covering the 2014

                calendar year. 3

            h. The failure to issue an annual performance evaluation for 2014 was in violation of

                SGWS’s company-wide policy. See Randall Dep. 47:5-9.

            i. Wilkinson did not have a valid reason for failing to give Maria an annual

                performance evaluation covering 2014. See Randall Dep. 47:12-15.

            j. Josianne Sajous filed a lawsuit against Southern in the Eastern District of New

                York on filed on January 4, 2015, also alleging that employees were classified


1
  See Performance Evaluations (Exhibit 3 to the Cabrera Decl.), at 1-7; Suarez Declaration ¶¶ 2-3. The
2016 and 2017 performance evaluations (Exhibit 8 to the Cabrera Declaration) were not signed by the
Plaintiff nor is there any evidence that she was furnished with these performance evaluations. See Suarez
Decl. ¶¶ 6-7.
2
  Id.
3
  See Performance Evaluations and Suarez Decl. ¶ 3.


                                                    5
               based upon sex. See Sajous v. Southern Wine & Spirits of New York, Inc., 15- cv-

               03270(JS)(ARL) complaint annexed as Exhibit 4 to the Moser Declaration.

           k. Plaintiff was not issued an annual performance evaluation covering the 2015

               calendar year. 4

           l. The failure to issue an annual performance evaluation for 2015 was in direct

               violation of SGWS’s company-wide policy. See Randall Dep. 47:5-9.

           m. Wilkinson did not have a valid reason for failing to give an annual performance

               evaluation covering 2015. See Randall Dep. 47:12-15.

           n. Defendant has produced what it contends are reviews covering the Plaintiff’s

               performance in 2016 and 2017. See Exhibit 8 to Cabrera Declaration.

           o. The Plaintiff does not remember receiving the performance evaluations covering

               2016 or 2017, and there is no evidence that they were ever furnished to her. See

               Suarez Decl. ¶ 4; Suarez Dep. 143:18-23; 146:14-18. 5

           p. The failure to furnish annual performance evaluations in 2016 and 2017 was in

               direct violation of SGWS’s uniform company-wide policy. See Randall Dep.

               47:5-9.

           q. Wilkinson did not have a valid reason for failing to give Maria annual

               performance evaluations covering 2016 and 2017. See Randall Dep. 47:12-15.

       Plaintiff was not rated as an “average Performer.”

           r. There is no such rating as “average Performer’” in SGWS’s employee rating

               system. See Performance Evaluations (Ex. 3 to Cabrera Decl.), at 1.



4
 See Performance Evaluations and Suarez Decl. ¶ 3.
5
 Unlike all other Performance Evaluations that have been furnished, the 2016 and 2017 evaluations are
undated and unsigned.


                                                   6
           s. The ratings given to Ms. Suarez when she was a manager included “Performer”

               and “High Performer”. See Performance Evaluations (Ex. 3 to Cabrera Decl.).

           t. More specifically, Wilkinson rated Maria Suarez as a “Performer” in 2010 6,

               2011, 7 2012, 8 and 2013. 9

           u. A “Performer” is described as follows:

               All key job expectations are met and sometimes exceeded with normal direction
               and assistance. A [Performer is a] solid performer who displays all the behaviors
               required for successful job performance. 10

           v. Wilkinson rated Ms. Suarez as a “High Performer” in 2012. See Performance

               Evaluations, at 16.

           w. A “High Performer” is described as an employee who “[o]ften exceeds and

               consistently    meets     all   key       performance   expectations”;   and   whose

               “[a]ccomplishments and contributions are higher than required by the job.” See

               Performance Evaluations, at 1.

    9.         Wilkinson acknowledged Suarez’s work ethic, but noted areas for improvement.

In particular, Wilkinson said Suarez needed to improve her communication skills and ability to

collaborate with other departments in the company and other functions in the warehouse; to keep

an open mind and be able to recognize the limits of her knowledge and identify when to ask for

help, rather than allowing her ego or stubbornness to get in the way of efficiency and success; to

improve her problem-solving skills; and to take more personal accountability for errors made by

her and her team. See Performance Evaluations (attached as Exhibit 3 to the Cabrera Decl.).


6
  Performance Evaluations, at 28.
7
  Performance Evaluations, at 21.
8
  Performance Evaluations, at 11.
9
  Performance Evaluations, at 1.
10
   See Performance Evaluations, at 1 (emphasis added).



                                                   7
   Response. The Defendant has failed to provide a pinpoint cite to the record, and this

statement contains numerous arguments and opinions, to which no response is required. To the

extent a response is required, Plaintiff DISPUTES this statement. See Performance Evaluations

(Exhibit 3).

PLAINTIFF’S COUNTER STATEMENT OF MATERIAL FACTS NO. 9.

           a. In his evaluations, John Wilkinson praised the Plaintiff and her communication,

               noting, “Maria is honest and communicates very timely.” Performance

               Evaluations, at 19.

           b. “Maria will work and get the job done. She wants it right the first time and strives

               to make everything perfect.” Performance Evaluations, at 21.

           c. “Maria works well in a team setting.” Performance Evaluations, at 16.

           d. “Maria takes pride in the quality of her work and does what is right not what is

               easy.” Performance Evaluations, at 11.

           e. Maria “displays a positive, ‘can do’ attitude and has a sense of urgency.”

               Performance Evaluations, at 5.

           f. “Maria takes personal accountability for her own activities and results and seeks

               to assist with team results[.]” “She constantly monitors progress against goals:

               has a sense of urgency. She does not let obstacles get In the way of goal

               achievement.” Performance Evaluations, at 5.

           g. “Maria is reliable - shows up consistently; delivers on commitments.”

               Performance Evaluations, at 4.

           h. “Maria is very accurate with her work.” Performance Evaluations, at 2.




                                                8
      10.          Despite identifying these issues and working with Suarez to improve them, year

after year, the same concerns were raised with Suarez in her evaluations. See Performance

Evaluations (attached as Exhibit 3 to the Cabrera Decl.).

      Response: DISPUTED.

PLAINTIFF’S COUNTER STATEMENT OF MATERIAL FACTS NO. 10.

              a. The most recent performance evaluation contained in Defendant’s Exhibit 3

                   states, that “Maria works well with other departments. In the past she did struggle

                   occasionally but has improved her approach over the past few years.” 11

              b. And,

                   Maria is recognized by others to be a subject matter expert and consistently tries
                   to improve her department with new ideas. She regularly asks questions and seeks
                   out learning opportunities to expand understanding of the function and business. .
                   . She has a thorough understanding of the basic math required to perform the job
                   and the ability to do complex calculations. She is very skilled in Excel and uses
                   this to her advantage.

      11.          Suarez admittedly never disputed her performance evaluations. See Suarez Dep.

at 42:13-17 (attached as Exhibit 19 to Cabrera Decl.).

      Response: UNDISPUTED.

      12.          In early 2016, SGWS began implementing a new warehouse management system

in the Syosset distribution warehouse. The system, Warehouse Management Information

(“WMI”), had been implemented in several other warehouse locations by SGWS, including in

Syracuse. See Deposition Transcript of Kevin Randall (“Randall Dep.”) at 41:17-24 (attached as

Exhibit 15 to Cabrera Decl.).

      Response: UNDISPUTED.




11
     Performance Evaluations (Exhibit 3), at 5.


                                                    9
   13.         On March 3, 2016, Suarez voluntarily applied for the WMI Administrator

position.

   Response: DISPUTED. Suarez did not “voluntarily apply.” She was told by Kevin Randall

to apply for the position. Suarez Dep. 53:15-16; 22-23. She was given “no alternative.” Suarez

Dep. 58:7-9.

   13.1.       [The WMI Administrator position] was offered to her on May 4.

   Response: UNDISPUTED.

   13.2.       The Plaintiff “started [as the WMI Administrator] on May 9.” See WMI

Administrator Offer History and Offer Letter (attached as Exhibit 4 to the Cabrera Decl.); and

WMI Administrator History and Job Description (attached as Exhibit 5 to the Cabrera Decl.).

   Response: UNDISPUTED. However, the system was not implemented until July 2016. See

Johnson Dep. 40:9-40:11.

   14.         The WMI Administrator’s job functions were critical to SGWS’ business because

without proper inventory the company could not supply to its customers and upside-down

inventory would negatively affect the company’s financials. See Randall Dep. at 80:14-81:9

(attached as Exhibit 15 to Cabrera Decl.).

   Response: DISPUTED. When Maria was given the title of “Administrator”, the high-level

functions which she had performed as the “Inventory Control Manager” were taken away from

her. See PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACTS NO. 18.1, infra.

   15.         Kevin Randall (“Randall”) was the hiring manager for the WMI Administrator

position that was offered to Suarez. See SGWS’ Responses to Plaintiff’s First Set of

Interrogatories, at Response No. 11 (attached as Exhibit 13 to the Cabrera Decl.); and Randall

Dep. at 62:4-6 (attached as Exhibit 15 to the Cabrera Decl.).




                                                10
     Response. UNDISPUTED

     16.        Randall selected Suarez for this position because she “was [the] best fit for the

inventory control counting piece where she had been placed.” See Randall Dep. at 62:7-25; 63:2-

8 (attached as Exhibit 15 to the Cabrera Decl.). Randall believed Suarez “was the most qualified

person for this job” because “[s]he worked in the warehouse every day alongside of all of those

people and her team and nothing in this new [WMI] world was going to change. That was all

going to stay the same. It was just how [SGWS] reported to accounting and to corporate in [its]

results…” See Randall Dep. at 82:19-83:7 (attached as Exhibit 15 to the Cabrera Decl.).

     Response. DISPUTED. The motive for the employment decision is a question for the trier of

fact. Furthermore…

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 16.

            a. According to Randall, “After interviewing the two individuals Tonisha [Durant]

                had the best qualification to understand the accounting piece.” 12

            b. However, Randall never interviewed Maria Suarez; 13

            c. Southern has not produced any documents showing how the decision to reclassify

                Maria from a Manager to an Administrator was made in early 2016, and Southern

                claims it is not withholding any such documents. 14

            d. Maria Suarez has bachelors degrees in both Accounting and Economics, and

                before coming to the United States, was a CPA working for the Government of

                Ecuador in the Ministry of Production, Foreign Trade, Investment and Fishing.

                (“Ministerio de Producción, Comercio Exterior, Inversiones y Pesca). See



12
   Randall Dep. 62:25-63:8.
13
   See Suarez Declaration ¶ 5.
14
   See Moser Declaration ¶ 5.


                                                 11
               Plaintiff’s resume (SGWS001404), annexed to the Moser Declaration as Exhibit

               5.

            e. When Mr. Randall determined that Maria Suarez was not the best qualified to

               handle the “accounting piece”, he was unaware of her qualifications. Randall Dep.

               44:3-9.

            f. Tonisha Durant, in contrast, does not have a degree in accounting and is not a

               CPA. See Tonisha Durant’s resume (SGWS0001734-0001735), annexed to the

               Moser Declaration as Exhibit 6.

            g. Because Southern, contrary to its own policy, had failed to furnish performance

               evaluations to Maria Suarez covering the years 2014 and 2015, there were no

               recent performance appraisals which could have been used to make employment

               decisions regarding Maria Suarez.

    17.        In this new position. . .Suarez enjoy[ed] an increased salary of $75,000[.]

    Response: Although it is UNDISPUTED that Plaintiff’s salary was $75,000 in 2016, she

was deprived of the consistent salary increases that she had earned prior to the filing of the

Herdocia lawsuit, as explained in PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 25,

infra.

    17.1.      In this new position. . .she also increased her supervisory responsibilities when an

additional IC Clerk was hired and added to her team at her request. See WMI Administrator

Offer History and Offer Letter (attached as Exhibit 4 to the Cabrera Decl.); and Kohn Dep. at

90:13-15 (attached as Exhibit 14 to Cabrera Decl.) (stating that “[w]ith the [WMI] role came a

pay increase; it came with more responsibility. She was given an additional cycle counter…”).

    Response: DISPUTED.




                                                 12
PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 17.1.

                  a. The person with the most knowledge (other than the Plaintiff herself) of

                      Maria’s supervisory responsibilities was her manager John Wilkinson, who

                      unfortunately died in 2019. Kohn Dep. 176:25-177:6.

                  b. After John Wilkinson, the next person with the most personal knowledge

                      Maria’s supervisory role was Kevin Randall. Id.

                  c. Kevin Randall has no personal knowledge of Maria’s activities 15 and Roy

                      Kohn knows even less than Kevin Randall (Kohn Dep. 176:25-177:6).

          When Plaintiff was relassified from “Manager” to “Administrator” she was stripped of
          her supervisory authority:

                  d. The change from “Manager” to “Administrator” was not a promotion, but a

                      “reclassification.” See Personnel Action Notice (SGWS001485), annexed to

                      the Moser Declaration as Exhibit 7 (describing the change as a

                      “reclassification”).

                  e. John Wilkinson was deposed in one of the sex discrimination lawsuits filed

                      against Southern on October 25, 2016. He testified:

                                  Q. Who does [Maria Suarez] supervise now?

                                  A. Nobody. 16

                  f. Ms Suarez’ disciplinary authority was taken away in July 2016 when she was

                      reclassified from a “Manager” to an “Administrator.” Wilkinson Dep. 121:8-

                      10; Toohig Dep. 92:17-93:18.

                  g. Wilkinson couldn’t explain the reasons why Maria’s disciplinary authority

                      was taken away. Wilkinson Dep. 121:8-10.

15
     Randall Dep. 84:8-19.
16
     See Wilkinson Deposition Transcript, annexed to the Moser Declaration as Exhibit 8, at 119:7-9.


                                                     13
              h. Wilkinson was “sure that [taking her authority away had] to do with

                  separation of responsibilities[.]” Wilkinson Dep. 14-17.

              i. Roy Kohn, testifying as a 30(b)(6) witness, agreed that Ms. Suarez’

                  disciplinary authority was taken away but offered a conflicting reason,

                  explaining that “John [Wilkinson] absorbed some of [Maria’s] other duties

                  like imposing discipline on the union staff because at that time she was

                  probably seen as not capable of doing it.” Kohn Dep. 125:14-22.

   18.        Suarez continued to report to the same manager, Wilkinson[.]

   Response: UNDISPUTED.

   18.1.      As WMI Administrator, “Suarez continued to [. . .] perform the same duties as in

her prior position.” See WMI Administrator History and Job Description (attached as Exhibit 5

to the Cabrera Decl.); Randall Dep. at 38:11-25 (attached as Exhibit 15 to Cabrera Decl.); Suarez

Dep. at 66:6-8 (attached as Exhibit 19 to Cabrera Decl.) (admitting that Wilkinson remained her

manager); and Kohn Dep. at 89:7-11 (attached as Exhibit 14 to the Cabrera Decl.) (“The tasks

involved in this WMI role were identical [to the former Inventory Control Manager role] with

the exception of the scanning versus the manual application of the perpetual inventory from the

past”).

   Response: DISPUTED. SGWS’s statement that Ms. Suarez’ job “didn’t change” is simply

incorrect.

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 18.1.

              a. Ms. Suarez was told by Kevin Randall that when she is reclassified as an

                  Administrator “[t]hat nothing will change.” Suarez Dep. 56-7-8.




                                               14
b. She was presented with a job description by Kevin Randall. See PLAINTIFF’S

   COUNTER-STATEMENT OF MATERIAL FACT NO. 24.

c. Suarez did not understand most of what was in the job description. See Suarez

   Dep. 54:21-24.

d. Maria Suarez was confused, telling Randall and Wilkinson “that this position,

   it looks like it's more for an IT person than for an accountant.” Suarez Dep.

   57:5-8.

e. Kevin Randall told her “That nothing will change” and “Don’t even read” the

   job description. Suarez Dep. 57:18-20.

f. Once she was reclassified as an administrator, “Everything changed.” Suarez

   Dep. 173:21-22.

g. Once she was reclassified she received a list of tasks not found in her job

   description. See Task List (SGWS001181), annexed to the Moser Decl. as

   Exhibit 9.

h. Once she was reclassified she didn’t have access to the ‘big picture” and was

   no longer involved in high level inventory matters. See Suarez Dep. 68:18-24.

a. When she was a Manager, Maria Suarez had disciplinary authority over her

   staff. See Toohig Dep. 92:17-21.

b. There were no known problems with Maria Suarez’s discipline or supervision

   of her employees when she was a Manager. Toohig Dep. 105:4-6.

c. Once she was reclassified as an “Administrator”, she was stripped of her

   managerial authority. See Suarez Dep. 173:11-14; see also PLAINTIFF’S

   COUNTER STATEMENT OF MATERIAL FACT NO. 17.1, supra.




                               15
                   d. As a Manager, Maria Suarez had been involved in financial adjustments of up

                       to $100,00.00. See Suarez Dep. 65:2-13.

                   e. Once she was reclassified, Maria’s threshold for approving “adjustments” was

                       limited to $500, which was “nothing.” See Suarez Dep. 64:19-25.

                   f. After she was reclassified, her primary duties consisted of clerical tasks. See

                       email and task list (SGWS002247-002248), annexed to the Moser Decl. as

                       Exhibit 9; Defendant’s Statement of Material Fact No. 31, infra (admitting

                       that “Her work was clerical in nature”).

           As an Administrator, the Plaintiff was relegated to the clerical task of counting
           merchandise in the warehouse for most of the day.

                   g. Southern stores $2 Billion 17 worth of liquor and wine in its Syosset

                       warehouse. Randall Dep. 8:25-9:6.

                   h. The warehouse is approximately 375,000 square feet (more than 6 football

                       fields) at ground level. Randall Dep. 8:25-9:6.

                   i. There are pallet racks up to 25 feet off the ground, four or five levels high.

                       Kohn Dep. 114-6-11.

                   j. The warehouse is divided into “locations” where individual pallets or groups

                       of merchandise are stored. Durant Dep. 39:23-40:10

                   k. There are 30,000 locations in the warehouse. Durant Dep. 39:15-17

                   l. Before she was reclassified as an Administrator, Maria had managerial

                       authority over Inventory Control Clerks/Cycle Counters (“Clerks”). See

                       Toohig Dep. 92:17-21.




17
     Billion with a “B”.


                                                    16
m. When Maria was reclassified as an Administrator, there were five Clerks.

   Durant Dep. 36:22-25.

n. Each of the clerks of which had an RF (radio frequency) Gun. Durant Dep.

   22:7-10.

o. Each Clerk would count inventory at a location, and enter it into the RF Gun.

   The system would compare the Clerk’s count to the inventory record. If the

   difference between the Clerks’ count and the inventory record was less than

   $250.00, the system would automatically accept the count. See Johnson Dep.

   18-20; Durant Dep. 36.

p. However, if the difference between the amount counted and the system

   inventory was greater than $250.00, the count would be automatically rejected

   by the system and would go into a “discrepancy” file. Durant Dep. 36.

q. If, after a recount, the variance was still in excess of $250.00, Maria only had

   authority to accept the Clerk’s count if the difference was $500 or less per

   location. Kohn Dep. 107:13-17.

r. For each location where the variance was in excess of $500.00, Maria was

   supposed to walk to the particular location in the 375,000 square foot

   warehouse and count the product herself. Durant Dep. 37:23-25.

s. Roy Kohn confirmed that Maria’s new job, as Administrator, was to

   “reconcile” “behind” the Clerks. Kohn Dep. 109:2-109:25. This meant that

   she needed to “take a walk on the [warehouse] floor and take a look at it, put

   eyes on it, get out there before you validate something and say yes.” Kohn

   Dep. 109:2-109:25.




                                17
              t. It takes 2-3 hours to resolve only 60-100 discrepancies (about 30-33 per hour).

                 Durant Dep. 42:23-43:8

              u. Durant estimated that when WMI was first implemented, there were

                 approximately 500 discrepancies each day. Durant Dep. 36:22-37:11.

              v. In fact, when WMI was first implemented there were approximately 1,000

                 discrepancies each day, not 500. See Suarez Decl. ¶ 7.

              w. Erroneous counts by the Clerks would result in an increased workload for

                 Maria. Durant Dep. 38:2-5.

              x. Therefore, when Maria Suarez was reclassified as an Administrator, her

                 workload was affected by Clerks who previously had been, but no longer

                 were, accountable to her.

              y. If Maria had followed the process recommended by Kohn and Durant, it

                 would have taken her 30-33 hours to resolve inventory discrepancies from just

                 one day (about 150-165 hours each week).

              z. After her reclassification as an Administrator, Maria walked the warehouse

                 floor, counting product behind the Clerks, for at least 8 hours a day. Suarez

                 Dep. 68:12-69:20; 76:16-18.

              aa. Maria did her best to make adjustments to inventory and to stay ahead of the

                 avalanche of discrepancies. See Suarez Decl. ¶ 8.

   19.        The only duty that changed for Suarez and the rest of the IC department was that

they were no longer required to manually count inventory due to the introduction of the WMI

electronic scanner guns, which made the IC process much more efficient. See WMI

Administrator History and Job Description (attached as Exhibit 5 to the Cabrera Decl.); and




                                               18
Kohn Dep. at 92:2- 7 (attached as Exhibit 14 to the Cabrera Decl.) (“The WMI administrator role

differed from her pre WMI administrator role mainly by the manner in which she worked and her

inventory control department worked. They no longer worked with a manual system with pencil

and paper. They worked with computers.”).

   Response. DISPUTED. Plaintiff incorporates by reference PLAINTIFF’S COUNTER-

STATEMENT OF MATERIAL FACTS NO. 17.1 AND 18.1, supra.

   20.          Suarez continued to direct the work of the IC clerks. See Kohn Dep. at 58:14-18

(attached as Exhibit 14 to the Cabrera Decl.) (“[Suarez] assigned work to the cycle counters

while she was the warehouse inventory manager in a manual system and after she became the

WMI administrator. It was [Suarez’] job to assign work to the counters.”); see also Suarez Dep.

at 74:15- 5 (attached as Exhibit 19 to Cabrera Decl.) (admitting that she made the decision to

direct the IC Clerks’ work while employed as the WMI Administrator); Deposition Transcript of

Melissa Johnson (“Johnson Dep.”) at 8:19-23 (attached as Exhibit 16 to Cabrera Decl.) (duties of

the WMI Administrator were “[t]o ensure that the system was correct at all times and to direct

the cycle counters to their job duties each day.”); and WMI Administrator History and Job

Description (attached as Exhibit 5 to the Cabrera Decl.) (stating that the WMI Administrator is to

“Provide Leadership...”).

   Response. DISPUTED.

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 20.

         The work of the Clerks was determined by the system.

                a. Maria Suarez would not make decisions. See Suarez Dep. 73:14-75:15.

                b. She would simply ask the Clerks to start counting at one location. See Suarez

                   Dep. 73:14-75:15.




                                               19
               c. After the Clerks completed their first count the system would take over

                   completely and them what location to count next until the end of their

                   workday. See Suarez Dep. 73:14-75:15.

               d. Plaintiff also incorporates by reference herein PLAINTIFF’S COUNTER

                   STATEMENT OF MATERIAL FACTS NO. 17.1, supra.

   21.         Suarez also applied for a position as WMI Inventory Control Manager.

   Response. DISPUTED.

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 21.

               a. When Kevin Randall and John Wilkinson told Maria to apply for the WMI

                   Administrator position, they also told that the decision had been made to make

                   Tonisha Durant the Inventory Control Manager in the warehouse, and

                   therefore she would not be able to apply for the position. See Suarez Decl. ¶ 6.

               b. The Inventory Control Manager position was officially “created” on April 1,

                   2016, after Maria had already applied for the Administrator position. See

                   WMI Inventory Control Manager History (SGWS000891-000894), annexed

                   to the Cabrera Decl. as Exhibit 12.

   21.1.       SGWS hired Tonisha Durant (“Durant”) for the WMI Inventory Control Manager

position on May 4, 2016. See WMI Inventory Control Manager History (attached as Exhibit 12

to the Cabrera Decl.).

   Response: UNDISPUTED.

   21.2.       Randall selected Durant for this position because it was within the accounting

department and Durant’s previous position was also in the accounting department. Durant was




                                                20
the best fit and most qualified for this position. See Randall Dep. at 62:7-63:8 (attached as

Exhibit 15 to the Cabrera Decl.).

   Response. The true motive for the employment decisions is a question for the trier of fact

and this is statement is therefore DISPUTED. Plaintiff incorporates by reference PLAINTIFF’S

COUNTER-STATEMENT OF MATERIAL FACT NO. 16, supra.

   21.3.       Durant’s role “did not change. Her role came from the accounting [department]

where she used to work and she applied to this position to become the Inventory Control

Manager. She is the communicator between the accounting and the warehouse. She remained

that constant.” See Randall Dep. at 75:9-19 (attached as Exhibit 15 to the Cabrera Decl.).

   Response. DISPUTED. Tonisha Durant actually assumed the Plaintiff’s Role.                  The

Plaintiff’s role as Inventory Control Manager was to be the communicator between the

warehouse and the accounting department. See Suarez Decl. ¶ 9.

   22.         Suarez was classified as an exempt employee.

   Response: .Plaintiff DOES NOT DISPUTE that Southern paid her a salary, even after

removing her supervisory authority and discretion, but states that she was not properly classified

as an exempt employee, because the defendant has conceded that she performed clerical duties.

See Defendant’s Statement of Material Fact No. 31, infra (admitting that “Her work was clerical

in nature”).

   23.         During the relevant time period, Suarez’ salary was as follows:

               2011: Supervisor, Inventory Control ($61,305)

               2012: Inventory Control Manager ($63,385)

               2013: Inventory Control Manager ($66,555)

               2014: Inventory Control Manager ($68,635)




                                                21
                2015: Inventory Control Manager ($70,715)

                2016: Inventory Control Manager ($72,130)

                2016: WMI Administrator ($75,000)

                2017: WMI Administrator ($75,000)

     See Payroll Records (attached as Exhibit 23 to the Cabrera Decl.).

     Response: .UNDISPUTED.

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 23. 18

                a. From 2011 until 2014 (the year in which the Herdocia lawsuit was filed),

                    Plaintiff’s average annual salary increase was 3.83%.

                b. From 2015 until 2018 (after the Herdocia lawsuit was filed) the Plaintiff’s

                    average annual salary increase was 2.25%.

                c. If Plaintiff had received the same salary increases after the women in her

                    department filed their sex discrimination lawsuits as she had been receiving

                    previously, Maria’s salary in 2016 would have been $73,979.29.

                d. Plaintiff’s total compensation in 2016 was $73,780.00 19.

                e. If Plaintiff had received the same salary increases after the women in her

                    department filed their sex discrimination lawsuits as she had been receiving

                    previously, her salary in 2017 would have been $76,812.70.

                f. Her salary in 2017 was $75,000.00.

                g. If Plaintiff had received the same salary increases after the women in her

                    department filed their sex discrimination lawsuits as she had been receiving

                    previously, her salary in 2018 would have been $79,754.62.

18
  These facts are supported by the Moser Declaration ¶ 8.
19
  The weighted average: $72,130 from January 1, 2016 until May 9, 2016, and $75,000 from May 10,
2016 until December 31, 2016.


                                                22
                       h. Plaintiff’s salary in 2018 was $75,000.

These facts are summarized in the following table:


                                                   Actual %        Average Annual %             Projected
            Year              Salary               Increase        Increase20                   Salary 21
                      2011    $ 61,305.00
                      2012    $ 63,385.00                 3.39%             3.83%
                      2013    $ 66,555.00                 5.00%             3.83%
                      2014    $ 68,635.00                 3.13%             3.83%
                      2015    $ 70,715.00                 3.03%             2.25%               $ 71,250.40
                      2016    $ 73,780.00                 4.33%             2.25%               $ 73,979.29
                      2017    $ 75,000.00                 1.65%             2.25%               $ 76,812.70
                      2018    $ 75,000.00                 0.00%             2.25%               $ 79,754.62


      The following graph compares the Plaintiff’s actual salary v. her projected salary.
                                            Actual v. Projected Salary
                                                  Maria Suarez
                                                   2011-2018
                      $85,000.00
                      $80,000.00
                      $75,000.00
                      $70,000.00
             SALARY




                      $65,000.00
                      $60,000.00
                      $55,000.00
                      $50,000.00
                                   2011     2012          2013     2014          2015    2016      2017     2018
                                                                          YEAR

                                            Salary Paid           Projected Salary (at 3.83%)



      24.              As WMI Administrator, Suarez was responsible for configuring, operating,

overseeing, and analyzing the WMI to achieve project objectives; ensuring smooth start-up and




20
     Calculated before and after Herdocia lawsuit was filed.
21
     Based upon average % increase prior to filing of Herdocia lawsuit.


                                                             23
transition by providing leadership and training to IC clerks; and driving the WMI application

process. See WMI Administrator Job Description (attached as Exhibit 5 to the Cabrera Decl.).

   Response. DISPUTED. The job description only states that the Administrator would “assist”

as follows:

         The candidate will assist to configure, operate, train, oversee & analyze our WM
         (&Operations) functions to achieve project objectives; ensure smooth start-up &
         transition by providing leadership and training to the local staff. Southern Wine
         Corporate will drive the WM application process.

See WMI Administrator Job Description (attached as Exhibit 5 to the Cabrera Decl.).

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 24.

                a. Maria Suarez did not understand most of what was in the Administrator job

                    description. See Suarez Dep. 54:21-24.

                b. Kevin Randall told her to disregard and to not even read the job description.

                    Suarez Dep. 57:18-20.

                c. Once Maria’s title was changed she was required to manually count inventory

                    for most of the day, something that she had not been required to do before and

                    which became a large part of her job. See PLAINTIFF’S COUNTER-STATEMENT

                    OF MATERIAL FACT NO. 17.1.,   supra.

   25.          After the transition to the WMI, Suarez was still responsible for directing the

work of the IC clerks. See WMI Administrator Job Description (attached as Exhibit 5 to the

Cabrera Decl.); and Randall Dep. at 63:9-24 (attached as Exhibit 15 to the Cabrera Decl.); and

Kohn Dep. at 30:14-17 (attached as Exhibit 14 to the Cabrera Decl.) (“Don’t be misled by the

title of [WMI] administrator. The inventory control clerks reported through [Suarez]. Her voice

was heard when she talked about them.”).




                                                 24
   Response. DISPUTED. The Plaintiff incorporates by reference PLAINTIFF’S COUNTER-

STATEMENT OF MATERIAL FACT NOS. 17.1; 18.1, AND 25, supra.

   26.         As WMI Administrator, Suarez continued to have influence on evaluating how IC

clerks performed their jobs and decisions on changes in their status. The only thing that changed

from her prior job as Inventory Control Manager was the use of the WMI. See Randall Dep. at

63:9-24 (attached as Exhibit 15 to the Cabrera Decl.); and Kohn Dep. at 34:14-18; 36:15-23;

37:2- 5 (attached as Exhibit 14 to the Cabrera Decl.) (Suarez “managed the inventory control

department, a recognized department. Her voice was heard and respected if she made

recommendations for discipline and this group of inventory and cycle counters reported to her.

She was responsible for them” and Suarez “asked for an additional cycle counter at one point”

approximately one year to 18 months prior to her department (Fall 2016), and “Wilkinson agreed

to hire an additional cycle counter.”).

   Response. DISPUTED. The Plaintiff incorporates by reference herein PLAINTIFF’S

COUNTER-STATEMENT OF MATERIAL FACT NOS. 17.1; 18.1, AND 25, supra.

   27.         Suarez continued to have supervisory authority over the IC clerks until she

separated from SGWS. See Randall Dep. at 67:24-68:3 (attached as Exhibit 15 to the Cabrera

Decl.).

   Response. DISPUTED. The Plaintiff incorporates by reference herein PLAINTIFF’S

COUNTER-STATEMENT OF MATERIAL FACT NOS. 17.1; 18.1, AND 25, supra.

   28.         Per the job description for the WMI Administrator position, Suarez had discretion

over her responsibilities of strategy, execution, and building capabilities. For instance, with

respect to strategy, Suarez had discretion over identifying operational opportunities to improve




                                               25
organizational efficiencies. See WMI Administrator Job Description (attached as Exhibit 5 to the

Cabrera Decl.).

   Response. Plaintiff DOES NOT DISPUTE that the job description says “Identify

Operational opportunities improved organizational efficiencies and provide/recommend

innovative solutions to help achieve the business goals.” To the extent that the defendant

contends that the Plaintiff actually had the duties listed in the job description, this statement is

DISPUTED.

   The Plaintiff incorporates by reference herein PLAINTIFF’S COUNTER-STATEMENT                   OF

MATERIAL FACT NOS. 17.1; 18.1, AND 25, supra.

PLAINTIFF’S COUNTER STATEMENT OF MATERIAL FACT NO. 28.

   On December 5, 2016, Roy Kohn ordered that any remaining discretion the Plaintiff might

have had to be taken away when he wrote:

          I need Maria to immediately stop making adjustments to the WMi and Sapphire
          inventories. The damaged this has caused is insurmountable. I realize that if she cannot
          make adjustments that her functions and capacity to do her job will be limited or totally
          negated, but she has again created a significant financial impairment for the company.

See Toohig Emails, annexed to the Cabrera Decl. as Exhibit 29, (SGWS002088)(emphasis

added).

   29.           Suarez exercised discretion and independent judgment over her strategy,

execution, and building capabilities responsibilities as WMI Administrator. For example, with

respect to execution, Suarez had discretion and independent judgment over implementing

operations to ensure continuous improvement measures and initiatives. See Kohn Dep. at 95:4-

96:7 (attached as Exhibit 14 to the Cabrera Decl.) (explaining Suarez’s discretion with regard to

different variances with the WMI program): and Finkelstein Dep. at 41-44; 47:6-15 (attached as




                                                  26
Exhibit 18 to Cabrera Decl.) (explaining WMI Administrator’s responsibilities regarding

analyzing inventory reports).

   Response. DISPUTED. The Plaintiff incorporates by reference herein PLAINTIFF’S

COUNTER-STATEMENT OF MATERIAL FACT NOS. 17.1; 18.1, 25, AND 28, supra.

   30.          Suarez performed under only general supervision from Wilkinson her duties in

the IC department. Those duties involved specialized training, experience, and knowledge of

physical inventory and inventory control. That was even more so true with the WMI system. See

Kohn Dep. at 95:4-96:7; 96:15-20 (attached as Exhibit 14 to the Cabrera Decl.) (“I know that

when we talk about her role as WMI administrator, I think people hear the word administrator.

Perhaps you hear administrator as something less than in the management ranks, but it is not. It

is someone that is administering the inventory and its value.”).

   Response DISPUTED. The Plaintiff incorporates by reference herein PLAINTIFF’S COUNTER-

STATEMENT OF MATERIAL FACT NOS. 17.1; 18.1, 25, AND 28, supra.

   31.          Suarez was not performing manual work. Her work was clerical in nature. See

WMI Administrator Job Description (attached as Exhibit 5 to the Cabrera Decl.); Kohn Dep. at

34:22-23 (attached as Exhibit 14 to the Cabrera Decl.) (Suarez “was more clerical, less physical

in her function.”); and Randall Dep.at 100:4-101:8 (attached as Exhibit 15 to Cabrera Decl.)

(stating that Suarez could not perform manual work because this was a unionized work-force and

nonunion workers were prohibited from performing manual tasks).

   Response: UNDISPUTED. The plaintiff agrees that her work was “clerical” in nature and

that she was a “clerical and other worker” as defined in NYLL 190(7) which states,

         “Clerical and other worker” includes all employees not included in subdivisions
         four, five and six of this section [relating to railroad workers, manual workers,
         and commissioned salespeople], except any person employed in a bona fide
         executive, administrative or professional capacity[.]



                                                27
   32.         Suarez never disputed her job duties or responsibilities as WMI Administrator

during her tenure with SGWS. See Johnson Dep. at 79:16-20 (attached as Exhibit 16 to Cabrera

Decl.); and Deposition Transcript of Tonisha Durant (“Durant Dep.”) at 52:2-9 (attached as

Exhibit 17 to Cabrera Decl.) (Q: “In the meetings that you had with [Wilkinson] and [Suarez],

the one-on- one meetings that you were asked about, did [Suarez] ever say these tasks are not in

my job description?” A: “No.” Q: “Did she ever say to [Wilkinson], Hey, you took away my

direct report, so I can’t get all of this done?” A: “No.”); and Suarez Dep. at 74:15-5 (attached as

Exhibit 19 to Cabrera Decl.) (Suarez admitting that she directed the IC Clerks’ work while

employed as the WMI Administrator).

   Response: UNDISPUTED, but immaterial. Not confronting your boss does not necessarily

mean that you agree with your boss. Moreover, an employee who expresses a difference of

opinion could be labeled as “belligerent” or “obstinate.” See Defendant’s Statement of Material

Fact 35, infra (explaining how Roy Kohn accused Maria of being “belligerent” and “obstinate.”).

   33.         To ensure a smooth transition to WMI and to set employees like Suarez up for

success, SGWS brought in multiple personnel from other locations where WMI had been

implemented to help train Syosset personnel on the WMI system. See Kohn Dep. at 29:3-7

(attached as Exhibit 14 to the Cabrera Decl.) (Suarez “was given an extraordinary amount of

attention to help her get through her learning curve and try to find a place that was going to make

her more functional for the company.”); and Johnson Dep. at 14:1-16:25 (attached as Exhibit 16

to Cabrera Decl.) (Melissa Johnson assisted with the initial WMI Training which was called “Go

Live” and was done by the WMI Implementation Team in July 2016).

   Response: Plaintiff DOES NOT DISPUTE that Southern offered training. Plaintiff

DISPUTES that Southern’s motive was to set her up for success, and believes she was actually




                                                28
being set-up for failure. The employer’s motives are a question of fact to be decided by the trier

of fact.

    PLAINTIFF’S COUNTER STATEMENT OF MATERIAL FACT NO. 33.

           Southern provided very little training to Maria

                  d. In May 2016 (about two months before the system was implemented) Maria

                      was sent to upstate New York to “shadow” Melissa Johnson for three days.

                      Johnson Dep. 36:25-37:18.

                  e. Also, Kevin Randall and John Wilkinson told Maria to sit in on WMI

                      meetings for several hours a day over the course of several weeks. Suarez

                      Decl. ¶ 10.

                  f. The focus of these meetings was information technology. There was no

                      training targeted to Maria’s role as WMI Administrator. Suarez Decl. ¶ 11.

                  g. Randall and Wilkinson told her that when she sat in on the meetings she

                      should bring her laptop and continue doing her regular job as Inventory

                      Control Manager. Suarez Decl. ¶ 12. She did as she was told. Suarez Decl. ¶

                      12.

    34.           Unfortunately, Suarez rejected the assistance provided by the multiple WMI

subject matter experts the company brought in to assist with the training of and transition to the

new system, and the performance concerns identified by Wilkinson over the years only worsened

once Suarez took the role of WMI Administrator. See Kohn Dep. at 29:7-9 (attached as Exhibit

14 to the Cabrera Decl.) (Suarez “was belligerent and being quite obstinate in taking advice from

the experts in the company.”).




                                                  29
     Response: Although Southern accused Maria of having a poor attitude and performance, this

statement is a statement of opinion, not fact, and is therefore DISPUTED. Moreover, Roy Kohn

does not have personal knowledge upon which to base his accusations. 22

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 34.

               a. According to Melissa Johnson (the individual who sat with Maria when the

                   system went “live” Plaintiff) Maria was cooperative. Johnson Dep. 51:25-

                   52:2.

               b. Maria seemed “very eager.” Johnson Dep. 38:24-39:2

               c. Maria did not have an “I know better” attitude. Johnson Dep. 52:3-5.

               d. Maria “had the knowledge and capabilities of doing everything she was

                   given.” Johnson Dep. 52:9-11.

               e. Ms. Johnson considered Maria trustworthy. Johnson Dep. 55:24-25;

               f. Ms. Johnson considered Maria to be honest, and does not remember Maria

                   ever saying something that was untrue. Johnson Dep. 55:21-56:4.

     35.       During WMI training, Suarez spent very little time with the training team, and

when she did, she was obstinate. See August 2016 Email Thread (attached as Exhibit 20 to the

Cabrera Decl.).

     Response: This is not a statement of fact, but one of opinion, and one not supported by

personal knowledge. Therefore, a response is not required. To the extent that a response is

required, the Plaintiff DISPUTES this statement.



22
  The person with the most knowledge (other than the Plaintiff herself) of Maria’s day to day activities
was her manager John Wilkinson, who unfortunately died in 2019. Kohn Dep. 176:25-177:6. After John
Wilkinson, the next person with the most personal knowledge Maria’s day to day activities was Kevin
Randall. Kohn Dep. 176:25-177:6. Kevin Randall has no personal knowledge of Maria’s activities
(Randall Dep. 84:8-19) and Roy Kohn knows even less than Kevin Randall (Kohn Dep. 176:25-177:6).


                                                  30
PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 35.

                a. On August 17, 2016, after meeting with one of Southern’s “trainers” Maria

                    sent an email to her boss, John Wilkinson, as follows:

                    I just want you to know that he didn’t teach me anything, had nothing
                    to show to me, just wanted to tell me than I am supposed to be on a
                    cherry picker 23 counting behind the cycle counters, also that I am
                    wasting man hours putting Justin to recount behind the others. I take
                    orders from my boss, you tell me what to do. 24

                b. Wilkinson did not reply to this email. Instead, John Wilkinson forwarded it to

                    his boss, Kevin Randall. 25 Kevin Randall in turn forwarded it to his boss, Roy

                    Kohn. 26

     36.        This continued lack of cooperation and Suarez’s poor attitude led to numerous

follow-up sessions with multiple trainers, including Melissa Johnson (“Johnson”) from upstate

New York. See Johnson Dep. at 37:4-11 (attached as Exhibit 16 to Cabrera Decl.) (Suarez “came

to the Syracuse facility to shadow [Johnson] for three days”).

     Response: The statement accusing Maria of being uncooperative and of having a poor

attitude is one of opinion, not fact, to which no response is required. The balance of the

statement is unsupported by the citation and therefore DISPUTED. The portion of the Johnson

Deposition transcript cited by Defendant refers to 3 days of training that were provided to Maria

Suarez in upstate New York in the beginning of 2016, months before she became the WMI

Administrator. Johnson Dep. 36:25-37:18. Johnson further testified that she could not predict

how Maria would perform once WMI was implemented “because [Maria] hadn't even used the

system yet.” Johnson Dep. 37:19-24.

23
   A cherry picker is a hydraulic crane with a platform at one end for raising and lowering people, to work
at heights.
24
   See August 2016 Email Thread (attached as Exhibit 20 to the Cabrera Decl.)
25
   See August 2016 Email Thread (attached as Exhibit 20 to the Cabrera Decl.).
26
   See August 2016 Email Thread (attached as Exhibit 20 to the Cabrera Decl.).


                                                    31
   37.         Johnson noticed that Suarez needed “more knowledge of the [WMI] system” so

she “created a daily/weekly report of what needed to be done each day and each week.” See

Johnson Dep. at 40:23-41:8 (attached as Exhibit 16 to Cabrera Decl.); and Daily/Weekly Task

Report (attached as Exhibit 22 to the Cabrera Decl.).

   Response: UNDISPUTED. However, the Daily/Weekly Task sheet which describes the

Plaintiff’s duties as “Administrator” bears little or no relationship to the Plaintiff’s job

description. See Daily/Weekly Task Report (attached as Exhibit 22 to the Cabrera Decl.), and

WMI Administrator Job Description (attached as Exhibit 5 to the Cabrera Decl.).

   38.         However, Suarez still could not understand the WMI system[.]

   Response: This is not a fact, but an opinion. This opinion is unsupported by reference to

admissible evidence and is therefore DISPUTED. The portion of the Johnson Transcript cited

contains no statement as to whether Maria understood the WMI system.

   38.1.       Johnson returned to train Suarez in Syosset on two more occasions for one week

at a time, in October 2016 and January 2017, respectively. See Johnson Dep. at 45:12-22

(attached as Exhibit 16 to Cabrera Decl.).

   Response: UNDISPUTED.

   39.         But Suarez began making significant, costly errors almost immediately. For

instance, she made negative adjustments to inventory without verifying or researching

discrepancies and without communicating the discrepancies to others. See Kohn Dep. at 104:15-

18 (attached as Exhibit 14 to the Cabrera Decl.) (Suarez “wrote off things and did not

communicate them well in excess of $500. There was one particular day she wrote off

$1,700,000 and didn’t tell anyone and left it alone.”).

   Response: DISPUTED.




                                                 32
     Counter-Statement of Material Fact No. 39.

               a. The Plaintiff never “wrote off” $1.7 million in inventory, nor did she have the

                  ability to do so (even if she had wanted to). 27

               b. Mr. Kohn is referring to a “discrepancy report” printed on or about December

                  3, 2016 showing that there was an inventory discrepancy of $1.7 million (in

                  other words, the discrepancy was less than 1/10th of a percent (% 0.085). 28

               c. On December 5, 2016, Roy Kohn sent numerous emails to Cory Cooper, the

                  East-Coast Vice President of Human Resources for Southern, before Maria

                  was even approached regarding the alleged discrepancy. 29

               d. By the end of that same day, and before Maria had even been spoken to about

                  the discrepancy report, Elizabeth Toohig had already drafted an “aggressive

                  proposal of termination”. See SGWS002070-002074, annexed to the Moser

                  Declaration as Exhibit 10; Suarez Decl. ¶ 14.

               e. This letter, which is dated December 5, 2016 (a full 1 ½ years before Maria

                  was fired), concluded as follows:

                  Despite retraining and offers by [John Wilkinson], Eric, Tonisha and Melissa
                  to assist you, basic responsibilities of your role as WMI Administrator are
                  going ignored or are being done incorrectly causing a financial burden to the
                  Company and creating increase in work load to the managers listed above.
                  Due to these facts your employment with Southern Glazer’s Wine and Spirits
                  is terminated effective immediately. 30

     40.       This had a significant impact on the warehouse’s financials and required

extensive mitigation efforts by other employees. See Kohn Dep. at 104:19-23 (attached as

Exhibit 14 to the Cabrera Decl.).

27
   See Suarez Decl. ¶ 13.
28
   Calculated by dividing $1.7M by $2B.
29
   See SGWS002070-002074, annexed to the Moser Declaration as Exhibit 10.
30
   See SGWS002070-002074, annexed to the Moser Declaration as Exhibit 10.


                                                33
      Response: DISPUTED. The “This” that was referred to by Mr. Kohn never occurred. See

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 39, supra.

      41.         After several significant errors by Suarez, and after several meetings between

Wilkinson and Suarez, Wilkinson and Vice President of Human Resources Elizabeth Toohig

(“Toohig”) issued Suarez a WMI Administrator Performance Expectations Memo in September

2016 to counsel her on the issues that had been identified and to offer additional support and

training. See September 2016 WMI Administrator Performance Expectations Memo (attached as

Exhibit 6 to the Cabrera Decl.).

      Response: Plaintiff does not dispute that in early September 2016, just one month before her

scheduled deposition in the Sajous case, Southern issued a memo to the Plaintiff titled “WMI

Administrator Performance.” In the memo, John Wilkinson criticized the Plaintiff’s performance

and described her as “uncooperative.” This was the first such Memo she had ever received in her

entire career at Southern. 31       The remainder of the statement is DISPUTED because it is

unsupported by a citation to evidence in admissible form.

      42.         To facilitate Suarez’s verification of inventory discrepancies and communication

of the same, Wilkinson moved Suarez to an office located on the warehouse floor to be closer to

the inventory and her team. This office was also used by warehouse managers who needed to

have the same type of oversight during their shifts. See Randall Dep. at 69:21-70:18 (attached as

Exhibit 15 to the Cabrera Decl.).

      Response: DISPUTED IN PART. Plaintiff DOES NOT DISPUTE that Approximately one

week after she testified in the Sajous case, John Wilkinson entered her office and told her “get

your things together, you are moving.” She loaded her docking station, monitor, papers and

personal belonging onto her office chair and pushed the chair in front of her, following John
31
     See Suarez Declaration ¶ 15.


                                                 34
Wilkinson. He relocated her to the blue room (a common space used by warehouse supervisors

and warehousemen located on the warehouse floor). 32 Randall’s statement as to Wilkinson’s

reasons for taking away the Plaintiff’s office are clearly speculative and not based upon personal

knowledge, and therefore the alleged “reason” is DISPUTED. See Randall Dep. 70:9-70:11

(speculating that Wilkinson “probably” moved the plaintiff out of her office to be “closer to her

people.”).

      43.         But Suarez continued to reject the guidance and instructions from her managers

and the employees who successfully manage WMI in other SGWS locations. She continued to

make errors that were costly to the company and increased the workload of multiple employees

in the IC department and other warehouse functions. Due to her continued and increased

performance deficiencies, the company placed Suarez on a performance improvement plan

(“PIP”) in January 2017. See January 2017 Performance Improvement Plan (attached as Exhibit

7 to the Cabrera Decl.); and January 2017 Email (attached as Exhibit 28 to the Cabrera Decl.).

      Response: Plaintiff does not dispute that she was placed on a performance improvement plan

in January 2017. The remainder of the statement is DISPUTED because it is unsupported by a

citation to evidence in admissible form and constitutes opinion.

      44.         Despite the additional training and coaching, Suarez continued to make similar

errors throughout 2017, resulting in a Final Written Warning in December 2017. See 2016 and

2017 Performance Reviews (attached as Exhibit 8 to the Cabrera Decl.); and January 2017

Written Warning and December 2017 Final Written Warning (attached as Exhibit 9 to the

Cabrera Decl.); and March 2017 Email (attached as Exhibit 21 to the Cabrera Decl.).




32
     See Suarez Declaration ¶ 16.


                                                35
   Response: Plaintiff DOES NOT DISPUTE that she was given a Final Written Warning in

December 2017. The remainder of the statement is DISPUTED because it is unsupported by a

citation to evidence in admissible form.

   45.         Before and after issuing the PIPs and warnings to Suarez, Toohig conducted an

independent investigation into Suarez’ performance, including all attending performance

meetings between Wilkinson and Suarez, editing the PIPs, and being included on all emails

regarding Suarez’ performance. See Toohig Decl., ¶ 13; and Toohig Emails (attached as Exhibit

29 to the Cabrera Decl.)

   Response. Plaintiff DOES NOT DISPUTE that at some point in time, Southern opened an

“investigation” file on Maria Suarez. See SGWS 001953 (in which Toohig directs a member of

her team to save Maria Suarez’s “previous discipline in. . .the investigation file.”).

   46.         Toohig also had conversations with Johnson about Suarez’ performance and

Suarez’ continued need for training on the WMI system. See Toohig Decl., ¶ 14.

   Response. UNDISPUTED.

   47.         Toohig conducted this independent investigation to make her own determination

regarding the expectations and whether Suarez’ performance issues were significant enough to

place her on a PIP. See Toohig Decl., ¶ 15.

   Response: Maria Suarez DOES NOT DISPUTE that she was being “investigated” by Ms.

Toohig. See SGWS001953 (of Exhibit 29 to the Cabrera Declaration)(in which Toohig directs a

member of her team to save Maria Suarez’s “previous discipline. . .the investigation file.”).

   48.         Toohig reviewed all employment issues related to Suarez to ensure that she was

being treated fairly, that there was no disparate treatment, and to make sure that Suarez was

being held to an appropriate standard that correlated with her job duties and responsibilities as




                                                 36
the WMI Administrator. See Toohig Decl., ¶ 16. Toohig sought to ensure that there were no

external factors influencing employment decisions regarding Suarez. See Toohig Decl., ¶ 17.

      Response: Plaintiff DOES NOT DISPUTE that Ms. Toohig reviewed all employment issues

related to Suarez.” Nor DOES PLAINTIFF DISPUTE that Toohig was of the opinion that Maria

“was being treated fairly, that there was no disparate treatment”, and that “there were no external

factors” which influenced Southern’s employment decisions. Toohig’s motives for the

investigation and her conclusory opinion are not proper subject for a statement of undisputed fact

and are therefore DISPUTED. 33

      49.       Based on Suarez’ continued performance issues during the relevant time period,

which were documented on numerous occasions, Toohig believed the PIP and employment

decisions made regarding Suarez were in line with the needs of the business. See Toohig Decl., ¶

18.

      Response Whether Southern discriminated or retaliated against Maria, or otherwise had a

legitimate non-discriminatory reason for its employment decisions is an ultimate issue for trier of

fact and is therefore DISPUTED. 34 Toohig’s “belief” is not a statement of fact, but of opinion,

and is therefore DISPUTED.

                           SOUTHERN’S “REDUCTION IN FORCE”

      50.       In early 2018, SGWS began a national initiative to reduce operating costs by

increasing efficiency, eliminating positions, and streamlining its processes. See SGWS’

Responses to Plaintiff’s First Set of Interrogatories, at Response No. 4 (attached as Exhibit 13 to


33
  Whether Southern discriminated or retaliated against Maria is an ultimate issue for the jury. In the case
of a lay witness, even though Rule 704 generally authorizes the admission of opinion testimony on an
ultimate issue, the Rule makes clear that the proffered testimony must also be “otherwise admissible”
under Rule 701. Ms. Toohig’s opinion is that Southern did not retaliate or discriminate against the
Plaintiff. However, an opinion is not appropriate material for a Rule 56.1 Statement of Fact.



                                                    37
the Cabrera Decl.); Randall Dep. at 51:25-52:5 (attached as Exhibit 15 to the Cabrera Decl.); and

Kohn Dep. at 141:8-16 (attached as Exhibit 14 to the Cabrera Decl.).

     Response. DISPUTED:

PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 50.

            a. Southern is the largest wine and spirits distributor in the United States. 35

            b. As of December 2022, Southern was the 11th largest private company in the

                United States. 36

            c. In early 2018, Roy Kohn received orders to eliminate 26 out of the 1,500

                employees working in New York. Kohn Dep. 143:3-12; Randall Dep. 51:7-24. 37

            d. According to Kevin Randall, Kohn told him pick any 5 people from his

                department to eliminate. Although this was a “cost savings” initiative, Randall

                was not told how much money he was supposed to save:

                Q.      [T]his was an initiative to save money?
                A.      Yes. Yes, I believe so. What else could it be?
                Q.      Were there any instructions as to how much money you had to save?
                A.      No.
                Q.      You just had to eliminate any five people; is that fair to say?
                A.      That was my assignment.
                Q.      It could have been anyone at the company?
                A.      Yes.

Randall Dep. 60:7-19.

            e. Before Maria was terminated, Southern’s Metro New York operation was already

                profitable. Randall Dep. 54:9-14;

            f. The stated purpose of firing 5 people was to generate even more profit for

                Sothern’s owners, the Chaplin family. Randall Dep. 54:9-14; 54:17-18.


35
   https://www.forbes.com/companies/southern-glazers/?sh=33ad7806f3a5
36
   https://www.forbes.com/companies/southern-glazers/?sh=33ad7806f3a5
37
   Defendant has failed to provide any documentation regarding these “orders.”


                                                   38
              g. Despite the fact that Randall eliminated 5 people under his command, the

                  remaining managers, including Randall himself, received pay increases in 2018;

                  therefore, the payroll went up in 2018. Randall Dep. 59:2-22.

              h. Kevin Randall didn’t keep any records regarding how he made his decision to

                  select Maria. Randall Dep. 65:3-5.

              i. Roy Kohn doesn’t think there are any documents which showing how Maria was

                  selected for termination. Kohn Dep. 144:12-15.

              j. Elizabeth Toohig testified that records were kept regarding the selection process,

                  including “spreadsheets as to the numbers and the dollars, the positions that were

                  going, the reasons, and justifications” as well as a list of employees with

                  demographic information. “All of that would have been submitted to legal.”

                  Toohig Dep. 22:20-23:9.

              k. Southern has not produced any documents showing how Maria was selected for

                  termination, and Southern’s counsel claim that none have been withheld. 38

              l. Although Southern claims that this was a “reduction in force” program, it has not

                  produced any documents concerning the reduction in force. The most it has
                                                                    39
                  produced is a list of 26 people who were fired.

              m. Kevin Randall claims that he considered Maria’s performance when he selected

                  her for termination. Randall Dep. 59:6-11.

              n. Roy Kohn (Randall’s boss) had input into Randall’s selection of Maria. Randall

                  Dep. 64:24-65:2.




38
     See Moser Declaration ¶ 6.
39
     See Moser Declaration ¶ 7.


                                                  39
            o. According to Roy Kohn, “Maria had performance issues many years throughout

                her tenure at Southern” and these performance issues “started well before” she

                was reassigned from Manager to Administrator. See Kohn Dep. 120-121.

            p. However, the only documents produced by Southern that show Maria’s

                performance before her reassignment from “Manager” to “Administrator” are the

                performance evaluations from 2010-2014, according to which she met or

                exceeded her job expectations, and displayed all the behaviors required for

                successful job performance. 40

     51.        In April 2018, 26 employees in New York were selected for lay-off as part of the

program. See NYRIF List (attached as Exhibit 10 to the Cabrera Decl.).

     Response: Plaintiff does not dispute that Defendants picked out 26 people for termination in

early 2018. Plaintiff DISPUTES that the selections were part of an impartial “reduction in force”

program as no documents concerning alleged program have been produced, except for a list of

26 people who were terminated. 41

     52.        5 out of the 26 employees were part of the operations group. See Kohn Dep. at

141:16-17 (attached as Exhibit 14 to the Cabrera Decl.).

     Response. UNDISPUTED.

     53.        The selection criteria for the state-wide reduction in force program included job

performance, position elimination, ability to perform the tasks required of those still employed,

and suitability for the positions remaining after the reorganization. See SGWS’ Responses to

Plaintiff’s First Set of Interrogatories, at Response No. 4 (attached as Exhibit 13 to the Cabrera



40
   See Performance Evaluations, at 1 (emphasis added) and Plaintiff’s Counter-Statement of Material
Facts No. 8, supra.
41
   See Moser Declaration ¶ 7.


                                                 40
Decl.); Randall Dep. at 59:6-11 (attached as Exhibit 15 to the Cabrera Decl.); and Kohn Dep. at

141:8-142:11 (attached as Exhibit 14 to the Cabrera Decl.).

      Response: Plaintiff DISPUTES the existence of a “reduction in force” program as no

documents concerning the alleged program have been produced. 42             Plaintiff disputes the

proffered reasons for selecting the Plaintiff as no documents concerning how she was selected

for termination have been produced. 43

      54.         The reduction of the 5 operations employees was primarily led by Kevin Randall

(“Randall”), but he received input from others, including Roy Kohn, then Vice President of

Operations of New York, Toohig, and Wilkinson. See SGWS’ Responses to Plaintiff’s First Set

of Interrogatories, at Response No. 15 (attached as Exhibit 13 to the Cabrera Decl.); Randall

Dep. At 64:24-65:2 (attached as Exhibit 15 to the Cabrera Decl.); and Deposition Transcript of

Elizabeth Toohig (“Toohig Dep.”) at 21:21-25; 31:2-25 (attached as Exhibit 24 to Cabrera Decl.)

(The reduction in force “was an intense process, lots of meetings, lots of conversations. We

[SGWS] don’t take eliminating peoples’ roles lightly. It was a lot of conversations.”).

      Response: Plaintiff disputes the existence of a bona-fide “reduction in force” program as no

documents concerning said program exist or have been produced. Plaintiff further disputes that

selecting maria “was an intense process” with “lots of meetings” and “lots of conversations” as

no documents concerning the process, conversations, or meetings exist or have been produced.

      55.         Suarez was among those selected for the program based on the foregoing criteria.

See SGWS’ Responses to Plaintiff’s First Set of Interrogatories, at Response No. 4 (attached as

Exhibit 13 to the Cabrera Decl.); and Randall Dep. at 59:6-11; 64:13-23 (attached as Exhibit 15

to the Cabrera Decl.). Randall also relied upon input from Wilkinson. See Randall Dep. at 65:19-


42
     See Moser Declaration ¶ 6.
43
     See Moser Declaration ¶ 7.


                                                 41
23 (attached as Exhibit 15 to the Cabrera Decl.); and Kohn Dep. at 156:18-25-7 (attached as

Exhibit 14 to the Cabrera Decl.).

     Response: Plaintiff disputes the stated reasons for selecting the Plaintiff for termination as

the Defendant has not produced any documents showing how she was selected or that a

reduction in force program even existed. 44

     56.        In terms of job performance, Suarez had chronic performance issues including

errors with cycle counting and failure to communicate those errors, and these issues were

documented over and over again. See January 2017 Performance Improvement Plan (attached as

Exhibit 7 to the Cabrera Decl.); 2016 and 2017 Performance Reviews (attached as Exhibit 8 to

the Cabrera Decl.); January 2017 Written Warning and December 2017 Final Written Warning

(attached as Exhibit 9 to the Cabrera Decl.) and Toohig Emails (attached as Exhibit 29 to the

Cabrera Decl.).

     Response: DISPUTED IN PART. Plaintiff does not dispute that after the Herdocia lawsuit

was filed Southern did not issue her a performance evaluation for two years (2014 & 2015). 45

Then, without having the benefit of a recent performance evaluation, Southern reclassified her

from a “Manager” to an “Administrator” in 2016. 46 She was given a confusing job description

that she was told to disregard. 47 After Southern reclassified her as an “Adminisrator”, Southern

consistently and aggressively documented many performance isssues, and actually wanted to

terminate the Plaintiff in December 2016, less than 6 months after WMI was implemented, and




44
   See Moser Declaration ¶ 7.
45
   See PLAINTIFF’S COUNTER STATEMENT OF MATERIAL FACTS NO. 8(i) and 8(m).
46
   See PLAINTIFF’S COUNTER STATEMENT OF MATERIAL FACTS NO. 17.1(d).
47
   See Suarez Dep. 57:18-20.


                                                42
even though she had not had received an annual performance appraisal since May 2014, before

the Herdocia lawsuit was commenced. 48

      57.         She was also obstinate during the WMI training and transition process, which

likewise was well documented. See August 2016 Email Thread (attached as Exhibit 20 to the

Cabrera Decl.); Kohn Dep. at 142:7-11 (attached as Exhibit 14 to the Cabrera Decl.) (discussing

Suarez’ “belligerent difficult attitude with the 40 folks who came to help with the Go Live

process.”); and Toohig Emails (attached as Exhibit 29 to the Cabrera Decl.).

      Response: This is not a statement of fact, but of opinion, to which no response is required.

To the extent that a response is required, Plaintiff DISPUTES this statement, and incorporates by

reference herein PLAINTIFF’S COUNTER-STATEMENT OF MATERIAL FACT NO. 35 (concerning her

attitude), and 24 (concerning Roy Kohn’s lack of personal knowledge).

      58.         In terms of position elimination, SGWS found that there were overlapping job

functions between the WMI Administrator position (occupied by Suarez) and the WMI Inventory

Control Manager position (occupied by Durant) and it decided to eliminate the former position.

The remaining duties were assigned to Finkelstein. See SGWS’ Responses to Plaintiff’s First Set

of Interrogatories, at Response Nos. 4 and 5 (attached as Exhibit 13 to the Cabrera Decl.); Kohn

Dep. at 142:2-6 (attached as Exhibit 14 to the Cabrera Decl.) (“Suarez’ work went to Tonisha

Durant and Barry Finkelstein. It [her position] was not backfilled.”); and Toohig Dep. at 31:13-

20 (attached as Exhibit 24 to Cabrera Decl.) (reviewing “the job descriptions, where the job

responsibilities, whether or not they were going to be reassigned to someone else, or whether

they were actually being eliminated and no longer necessary.”).

      Response: Plaintiff DISPUTES the stated reasons for selecting the Plaintiff for termination

as the Defendant has not produced any documents showing how she was selected, and as
48
     See Defendant’s Statements 39, 40 and 56 and Plaintiff’s Responses thereto, supra.


                                                     43
whether the Defendant had a legitimate non-discriminatory reason for terminating the Plaintiff is

a question for the trier of fact.

    59.         SGWS terminated Suarez’s employment and eliminated her position, effective

April 6, 2018. See Termination Letter (attached as Exhibit 11 to the Cabrera Decl.); and SGWS’

Responses to Plaintiff’s First Set of Interrogatories, at Response No. 4 (attached as Exhibit 13 to

the Cabrera Decl.).

    Response: UNDISPUTED.

    60.         SGWS offered Suarez a severance package, but she declined. See Suarez Dep. at

150:17-21 (attached as Exhibit 19 to Cabrera Decl.).

    Response: UNDISPUTED.

    61.         In May 2013, Suarez directed a question to Wilkinson about whether the female

IC clerks had been improperly classified as clerical employees instead of warehouse employees.

Wilkinson escalated Suarez’ question to former Associate Director of Human Resources Dina

Wald Margolis (“Wald Margolis”). See Toohig Dep. at 43:2-44:25 (attached as Exhibit 24 to

Cabrera Decl.); and Dina Wald Margolis’s Deposition Testimony (“Wald Margolis Dep.”) at

34:2- 45:25 (attached as Exhibit 27 to the Cabrera Decl.).

    Response: UNDISPUTED.

    62.         Given Suarez’s managerial authority over the IC Clerks, it was “a legitimate

question to ask” and “there was nothing inappropriate” about Suarez’s question about employee

classification. See Toohig Dep. at 45:17-22 (attached as Exhibit 24 to Cabrera Decl.).

    Response: UNDISPUTED.

    63.         In fact, it was Suarez’s “responsibility” to “identify[] an issue.” See Toohig Dep.

at 120:3-11 (attached as Exhibit 24 to Cabrera Decl.).




                                                44
    Response: UNDISPUTED.

    64.        SGWS investigated the classification and determined that “it had been a clerical

error.” See Toohig Dep. at 46:2-9 (attached as Exhibit 24 to Cabrera Decl.); and Wald Margolis

Dep. at 63:21-24 (attached as Exhibit 27 to the Cabrera Decl.) (Wald Margolis did a thorough

investigation into Suarez’s question).

    Response: UNDISPUTED.

    65.        SGWS immediately corrected the clerical issue in the system and all of the IC

Clerks were classified the same way. See Toohig Dep. at 120:8-15 (attached as Exhibit 24 to

Cabrera Decl.).

    Response: UNDISPUTED, but irrelevant as to whether the Plaintiff engage in protected

activity.

    66.        In connection with these issues, Sajous filed a charge with the Equal Employment

Opportunity Commission in 2013. After the EEOC dismissed Sajous’ charge based on a no-

probable cause finding, Sajous filed a lawsuit in January 2015 alleging gender discrimination and

violations of the Equal Pay Act. See Sajous v. Southern Wine & Spirits of New York, Inc., 15-

cv- 03270-JS-ARL (E.D.N.Y.).

    Response: UNDISPUTED.

    67.        In October 2016—one month after Suarez received the WMI Administrator

Performance Expectations Memo—she provided a deposition in the Sajous litigation. See

Suarez’ Deposition Testimony in Sajous Matter (attached as Exhibit 25 to the Cabrera Decl.);

and September 2016 WMI Administrator Performance Expectations Memo (attached as Exhibit

6 to the Cabrera Decl.).

    Response: UNDISPUTED.




                                               45
   68.         Suarez testified that it was her personal opinion—not the company’s position—

that the IC Clerks she supervised should be classified as warehouse workers and that she held

this opinion simply because “they work in the warehouse.” When Suarez was asked if she

believed the Union’s reason for denying the IC Clerks the warehouse classification was because

they were women, Suarez responded “I wouldn’t know.” She confirmed in the Sajous deposition

that she never participated in any discussions about the reasoning for her department’s

classification as clerical rather than warehouse and that she never even asked anyone the reason

for the classification. See Suarez’ Deposition Testimony in Sajous Matter at 19:24-20:23, 46:4-9,

51:2-6, 61:16-62:25 (attached as Exhibit 25 to the Cabrera Decl.).

   Response: UNDISPUTED.

   69.         Suarez also confirmed that the IC department employees were not the only SGWS

employees who worked in the warehouse who were classified as clerical rather than warehouse

employees, and that some of those other employees were men). See Suarez’ Deposition

Testimony in Sajous Matter at 19:24-20:23, 46:4-9, 51:2-6, 61:16-62:25 (attached as Exhibit 25

to the Cabrera Decl.).

   Response: UNDISPUTED.

   70.         Suarez’ testimony was not damaging to SGWS. See Toohig Dep. at 120:3-11

(attached as Exhibit 24 to Cabrera Decl.) (Q: “Do you believe that [Suarez] was retaliated against

because the women in her department sued the company?” A: “No.” Q: “What is that opinion

based upon?” A: “I believe [Suarez] did her responsibility by identifying an issues that we

[SGWS] immediately corrected. I don’t believe it was [Suarez] fault that [the IC Clerks] sed the

company.”); and Wald Margolis Dep. at 76:13-77:11 (attached as Exhibit 27 to the Cabrera

Decl.) (Q: “Did you believe that [Suarez] was to blame for these women believing they were




                                               46
discriminated against?” A: “No.” Q: “And do you think that [Suarez] was responsible for the fact

that these women made claims of discrimination against [SGWS]?” A: “No, I don’t.”).

   Response: DISPUTED. This is a statement of opinion, rather than fact to which a response

is not required. However, to the extent that a response is required, this is DISPUTED. See

Suarez’ Deposition Testimony in Sajous Matter (annexed to the Cabrera Declaration as Exhibit

19).

Dated: Huntington, New York
       March 9, 2023

                                            MOSER LAW FIRM, P.C.
                                            Steven John Moser
                                            Steven John Moser (SM6628)
                                            5 East Main Street
                                            Huntington, New York 11743
                                            steven.moser@moserlawfirm.com
                                            (631) 824-0200

TO:    All Counsel of Record (Via ECF)




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